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   Exhibit “A”
         Case
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                                   Document166-2
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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

American Environmental Enterprises Inc., d/b/a
The SafetyHouse.com, :
                                            :
        v.                                  :                Case No. 22-cv-688-JMY
                                            :
Manfred Sternberg, et al.,                  :

                                                   ORDER


         AND NOW, this 25th day of April 2024, upon consideration of the Motion to Withdraw

 as Counsel For Defendants, Daphna Zekaria, Esquire, And Sokolski & Zekaria, P.C., (ECF No.

 163) it is hereby ORDERED that Counsel’s Motion to Withdraw shall be SCHEDULED for a

 hearing in the United States District Court, United States Courthouse, 601 Market Street,

 Philadelphia, Pennsylvania, on Thursday, June 13th, 2024 at 12:30 P.M. before the Honorable

 John Milton Younge in Courtroom 15B, 15th floor.

         It is further ORDERED that Counsel for Defendants shall provide proof of service to

 establish that a copy of the Motion to Withdraw and a copy of this Order showing the time and

 date of hearing was served on the Defendants. 1

                                                    BY THE COURT:

                                                    /s/ John Milton Younge
                                                    Judge John Milton Younge




         1
           The filing party shall provide this Court with proof their client was served with the intent to
 withdraw and is aware of the hearing that is going to take place at the above-referenced time and
 location. Court accepted proof of service is as follows: (1) the client appears at the hearing; (2) the client
 signs an affidavit that states the client understands the intent to withdraw and does not object; (3)
 personal service of the motion and rule returnable by an individual authorized to serve process; or (4) at
 the very minimum the filing attorney must provide this Court with a certified return receipt card signed
 by the client.
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   Exhibit “B”
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